Case 2:16-md-02740-JTM-MBN Document 16607-4 Filed 12/01/23 Page 1 of 6




                EXHIBIT C
Case 2:16-md-02740-JTM-MBN
   Case                      Document
         2:16-cv-15473-KDE-MBN        16607-4
                               Document  5 FiledFiled 12/01/23
                                                  05/31/17     Page
                                                            Page 1 of 25 of 6




 Lisa Tuyes v. Sanofi S.A., et al.,
 case # 2:16-cv-15473-KDE-MBN




                     Lisa Tuyes




         Not applicable




         Not applicable
                                      Louisiana

                                                  Louisiana
Case 2:16-md-02740-JTM-MBN
   Case                      Document
         2:16-cv-15473-KDE-MBN        16607-4
                               Document  5 FiledFiled 12/01/23
                                                  05/31/17     Page
                                                            Page 2 of 35 of 6




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Case 2:16-md-02740-JTM-MBN
   Case                      Document
         2:16-cv-15473-KDE-MBN        16607-4
                               Document  5 FiledFiled 12/01/23
                                                  05/31/17     Page
                                                            Page 3 of 45 of 6




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                                             Eastern District of Louisiana




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Case 2:16-md-02740-JTM-MBN
   Case                      Document
         2:16-cv-15473-KDE-MBN        16607-4
                               Document  5 FiledFiled 12/01/23
                                                  05/31/17     Page
                                                            Page 4 of 55 of 6




                  January 2008 - February 2008




                    Louisiana




           I experienced permanent hair loss after being administered docetaxel/ Taxotere.



           X
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Case 2:16-md-02740-JTM-MBN
   Case                      Document
         2:16-cv-15473-KDE-MBN        16607-4
                               Document  5 FiledFiled 12/01/23
                                                  05/31/17     Page
                                                            Page 5 of 65 of 6




Louisiana Products Liability Act; La. Rev. Stat. Ann. Section 9:2800.51 et seq.
Fraud; La. C. C. Art. 1953
Unfair and Deceptive Practices; La. Rev. Stat. Section 1:1409




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